          IN THE DISTRICT COURT OF THE UNITED STATES
         FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                      CHARLOTTE DIVISION
                  CRIMINAL CASE NO. 3:07cr211-2


UNITED STATES OF AMERICA, )
                          )
                          )
              vs.         )                      ORDER
                          )
                          )
VICTORIA L. SPROUSE.      )
                          )

     THIS MATTER is before the Court on the Supplement to Prior Motion

for Additional Funds for an Investigator [Doc. 295].

     The Court finds for the reasons stated that additional funds in the

amount of $3,190.00 for the private investigative services of Kenneth

Whapham and his company K.W. Investigations, L.L.C. are authorized.

     IT IS, THEREFORE, ORDERED that upon the submission of the

appropriate voucher additional funds in the amount of $3,190.00 for the

private investigative services of Kenneth Whapham and his company K.W.

Investigations, L.L.C. are hereby authorized.

                                      Signed: January 28, 2010




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